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UNITED STATES DISTRICT COURT
FOR THE
NORTHERN DISTRICT OF NEW YORK

ORDER APPOINTING THE OFFICE OF THE FEDERAL PUBLIC DEFENDER

 

United States of America
Docket # 8:20-MJ-487 (GLF)
Vv.

GRAIGORY BROWN,
Defendant.

 

Because the above-named person has testified under oath or has otherwise satisfied this
court that he or she (1) is financially unable to employ counsel and (2) does not wish to waive
counsel, and because the interests of justice so require;

It is hereby ORDERED that:

The Office of the Federal Public Defender for the Northern District of New York is
assigned representation of the above-named defendant and shall file a notice of appearance with
the Clerk of Court.

Dated this 2" day of October 2020 SZ

at Plattsburgh, New York « t
Gary L. Favro # .
U.S. Magistrate Judge, N.D.N.Y.
